     Case 2:20-mj-05667-DUTY Document 7 Filed 03/29/21 Page 1 of 2 Page ID #:143



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 8                          UNITED STATES DISTRICT COURT

 9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                                 WESTERN DIVISION

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     IN RE: UP TO $149,900 IN BANK OF        No. 2:20-mj-05667 AGR
12   AMERICA ACCOUNT NUMBER
     325113647695.                           ORDER UNSEALING THE APPLICATION
13                                           FOR SEIZURE WARRANT, SUPPORTING
                                             AFFIDAVIT AND SEIZURE WARRANT
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18        The United States of America has applied ex parte for an order
19   unsealing the Application, Affidavit and Seizure warrant filed in the
20   instant matter.
21        The referenced filings were ordered sealed pursuant to a sealing
22   order entered on November 20, 2020, pending further Order of the
23   Court.
24        //
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     Case 2:20-mj-05667-DUTY Document 7 Filed 03/29/21 Page 2 of 2 Page ID #:144



 1            Good cause appearing therefor, IT IS ORDERED:

 2        The Application, Affidavit and Seizure warrant in the instant

 3   matter are ordered unsealed.

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 5   DATED:
                                       UNITED STATES MAGISTRATE JUDGE
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 7
     PRESENTED BY:
 8
     TRACY L. WILKISON
 9   Acting United States Attorney
     BRANDON D. FOX
10
     Assistant United States Attorney
11   Chief, Criminal Division
     STEVEN R. WELK
12   Assistant United States Attorney
     Chief, Asset Forfeiture Section
13
      /s/Brent A. Whittlesey
14   BRENT A. WHITTLESEY
15   Assistant United States Attorney

16   Attorneys for Plaintiff
     UNITED STATES OF AMERICA
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